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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 REBECCA KELLY SLAUGHTER, et al.,
 in their official and personal capacities,

                 Plaintiffs,
                                                        Civil Action No. 25 - 909 (LLA)
           v.

 DONALD J. TRUMP, et al.,

                 Defendants.



                                               ORDER

          For the reasons stated in the court’s Memorandum Opinion, ECF No. 51, it is hereby

ORDERED that Plaintiff Alvaro Bedoya’s claims are DISMISSED without prejudice. It is

further

          ORDERED that Plaintiff Rebecca Slaughter’s Motion for Summary Judgment, ECF

No. 20, is GRANTED and Defendants’ Cross-Motion for Summary Judgment, ECF No. 32, is

DENIED. It is further

          DECLARED that the purported removal of Ms. Slaughter from the Federal Trade

Commission was unlawful under the Federal Trade Commission Act, 15 U.S.C. § 41 et seq., and

is therefore without legal effect. It is further

          DECLARED that Ms. Slaughter remains a rightful member of the Federal Trade

Commission until the expiration of her Senate-confirmed term on September 25, 2029; and that

she may only be removed by the President for “inefficiency, neglect of duty, or malfeasance in

office” pursuant to 15 U.S.C. § 41. It is further
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       ORDERED that Defendants Andrew Ferguson, Melissa Holyoak, David Robbins, and

their subordinates and agents are ENJOINED from removing Ms. Slaughter from her lawful

position as an FTC Commissioner or otherwise interfering with Ms. Slaughter’s right to perform

her lawful duties as an FTC Commissioner until the expiration of her term or unless she is lawfully

removed by the President for “inefficiency, neglect of duty, or malfeasance in office” pursuant to

15 U.S.C. § 41. This injunction accordingly requires Mr. Ferguson, Ms. Holyoak, Mr. Robbins,

and their subordinates and agents to provide Ms. Slaughter with access to any government

facilities, resources, and equipment necessary for her to perform her lawful duties as an FTC

Commissioner during the remainder of her term.

       This Order constitutes a final judgment of the court within the meaning of Rule 58(a) of

the Federal Rules of Civil Procedure. The Clerk of Court is directed to terminate the case.

       SO ORDERED.




                                                     LOREN L. ALIKHAN
                                                     United States District Judge
Date: July 17, 2025




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